Case 1 16 cv 00711 RGA Document 2 Filed 08/12/16 Page 1 of 43 Page|D # 6

(Del. Rev. 5/‘2014) Pro Se Employ'menl Discrimination Complaint
IN THE UNITED STATES DISTRICT COURT

 

 

 

 

FOR THE DISTRICT OF DELAWARE
(Name ofplaimiffor Plaim;ffs) 1 6 - 7 1 1
v. Civ. Action No.
(To be assigned by Clerk’s Ofiice)
16 § ` 1§\ CoMPLAINT FoR
EMPLOYMENT DISCRIMINATION
(Pro se)
(Name of Defendant or Defendants)
Jury Demand?
ClYes
UNo

Thls action is brought pursuant to (check all spaces that apply)

Age Discrimination 1n Employment Act of 1967, as amended, 29 U S. C §§ 621, et seq. .,

D
for employment discrimination on the basis of age. My year of birth ls:

E)nv 9;112

___

l"l:[ gri 3

M' Title Vll of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e et seq., for
employment discrimination on the basis of race, color, religion, sex, or national origin

Rehab111tat10n Act of 1973 as amended, 29 U.S.C. §§ 701, et seq., for employment

g . . . ’
dlscr1m1nat1on on the basis of a disability by an employer whlch const1tutes a program

or activity receiving federal financial assistance.

Amerlcans w1th Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101 et seq for

g .
employment discrimination on the basis of disablllty.

104 191/ila @mrl'

 

2. Plaintiff resides at
( eet Address) g
\Cl`§to;

 

me ( Vl;nl; emma
(C ity) (County) (State) (Zip Code)
Attach additional sheets if more than one Plaintlff

302 H~QB 562ng

 

(Area Code) (Phone Number)
1&00 gus 111 LY¢M

i'i:gh©%

 

Defendant resides at, or its business ls located at
(Street Address)
be 10901

\moare_
(Zip Code)

:Dn\/er limit
(County) (State)

City)

Attach additional sheets if more than one Defendant

.(

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4. The discriminatory conduct occurred in connection with plaintiffs employment at, or application

to be employed at, defendant’s f ge iQ| l )Q_jf w g | mn ]Q§`Q` §§ place ofbusiness

(Den Nam )
located at j Q..OC) MOM 3d pampso\@'e i`ikg\hlbw

 

 

 

(Street Address) L\Q
over V\exrl» \_alM€ l Ci‘iOl .(
City) (County) (State) (Zip Code)
5. The alleged discriminatory acts occurred on l ii , , ego iii .
(Day) (Mo ) (Year)
6. The alleged discriminatory practice g i_s D is not continuing.
7. On SC$H/\ , § Q\L.|, , LO\©/ , Plaintiff filed charges
(Day) ( Ml>mh) (Year)

with the Department of Labor of the State of Delaware: i l §§ (!£ OC &ffh` i>°g§§§ 11in i`OY\ ,

 

 

\ ~__ (Agency)
<Q LD iv 55 ' r ` ICL
(Street Address) (City) (County)
:>Qi(ltmlfc_ 3 CKCUQB , regarding defendant’s alleged discriminatory conduct.
_"(State) (Zip Code)
8. On &C)`W\ , __S §\\.l , 20 \5' , Plaintiff filed charges
(Day) ( Month) (Year)

with the Equal Employment Opportunity Commission of the United States regarding defendant’s alleged

discriminatory conduct.

 

9. The Equal Employment Opportunity Commission issued the attached Notice-of-Right-to-Sue
letter which was received by plaintiff on: i iM/\¥ MW , 620 \5
(Day) (Molnh) (Year)

(NOTE: ATTACH NOTICE-OF-RIGHT-TO-SUE LETTER TO THIS COMPLAINT.)
10. The alleged discriminatory acts, in this suit, concem:

A. D F ailure to employ plaintiff
B. M/Termination of pla1nt1ff"s employment. Pla1nt1ff was terminated from employment on

the following date: gagng m ‘ 20 \b/
C. D F ailure to promote plainti . Plaintiff was refused a promotion on the following date:
D. D Other acts (please specify): w if § ;§g§éa E¢m`m;§mogf:

 

 

 

 

 

ll. The conduct of Defendant(s) was discriminatory because it was based on (check all that apply):

2

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Plaintiff’ s race
Plaintiff’s color
Plaintiff’s sex

Plaintiff’ s religion
Plaintif`f’ s national origin
Plaintiff’ s age

Plaintiff` s disability

O*nm©c°)o:>
DE|E|S{QE|EI

12. A copy of the charges filed with the Department of Labor of the State of Delaware and/or the
Equal Employment Opportunity Commission is attached to this complaint and is submitted as a
brief statement of the facts of plaintiffs claim.

jNOTE: ATTACH A COPY OF THE CHARGES FILED WITH THE DEPARTMENT OF LABOR OF
THE STATE OF DELAWARE AND/OR THE EQUAL EMPLOYMENT OPPORTUNlTY COMMlSSlON
OF THE UNITED STATES TO THIS COMPLAINT.[

THEREFORE, Plaintiff asks the Court to grant such relief as may be appropriate, including but not

limited to (check all that apply):

A. ernjunctive relief (specify what you want the Court to order): ( [(`ng:£ §§ n
§§S’g§it>e g QS mgom:; 'm :klt off §‘1§@&1‘@1;3 .

Back pay.
C| Reinstatement to former position.
g Monetary damages in the amount of
That the Court appoint legal counsel.
§(Such relief as may be a prop te, including costs and attomey’ s fees.

[B/Other (specify):

 

.@.”'1?"1.505:‘

 

I/We declare under penalty of perjury that the foregoing is true and correct.

Dated: A§ z §§ )§z` x ?) QQMQ

 

 

(Signature of additional Plaintiff)

 

NOTICE
Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to electronic couxt
files. Under this rule, papers filed with the court should not contain: an individual’s full social security number or full birth date;
the full name of a person known to be a minor; or a complete financial account number. A filing may include onlyz the last four
digits of a social security number; the year of an individual’s birth; a minor’s initials; and the last four digits of a financial
account number.

 

 

 

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EEOC Form 161 (11/09) U.S. EQUAL EMPLOYMENT OPPCRTUN|TY COMM|SSION

 

DisM\ssAL AND NoTicE oF RrGHTs

 

TO= Mahala S. Duffy Fr°mi Philadelphia District Office
104 Teak Court 801 Market Street
Dover, DE 19901 Suite 1300

Philadelphia, PA19107

 

\::| On behalf of person(s) aggrieved whose identity is
CONFIDENTiAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Te|ephone No.
Natasha Abe|,
1 7C-201 5-00574 State & Loca| Coordinator (21 5) 440-2650

 

THE EEOC |S CLOS|NG |TS F|LE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act,
The Respondent employs less than the required number of employees or is not othenrvise covered by the statutes.

¥our charge was not timely ti|ed with EEOC; in other words. you waited too long after the date(s) of the alleged
discrimination to file your charge

U[l|:|[l[l

The EEOC issues the following detem'\ination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

other (bn'efly state)

ill

- NOT|CE OF SU|T R|GHTS -

(See the additional information attached to this fom‘i.)

Tit|e Vl|, the Americans with Disabi|ities Act, the Genetic |nformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed W|TH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
|ost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the

alleged EPA underpayment This means that backpay due for any violations that occurred more than 2 years 13 years[
before you file suit may not be collectib|e.

gaf

 

 

May 9, 2016
Enclosures(s) Spencer H_ Lewis, Jr_, (Date Mailed)
Dlstrlct Director
cc: Miche|e D. A||en, Esq.
LAW OFFlCES OF MlCHELE D. ALLEN, LLC.

David K. Sheppard, Esq. Stone Mill Office Plaza

Assistant General Counse| 724 York|yn Road, Suite 310

DELAWARE STATE UN|VERS|TY Hockessin, DE 19707

Office of General Counsel
1200 North DuPont nghway

Dover, DE 19901

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Philadelphia District Office

801 Mal'kct Strcct, Suil.c l300
Philadelphia, PA 19107-3127

 

PLEASE READ THE FOLLOWING INFORMATION CAREFULLY

You filed a charge of employment discrimination with one (1) of the following six (6)
agencies, which are known as Fair Employment Practices Agencies (FEPA):

Delaware Department of Labor (DDOL)

New Jersey Division on Civil Rights (NJDCR)
Philadelphia Commission on Human Relations (PCHR)
Pittsburgh Commission on Human Relations (PCHR)
Reading Human Relations Commission (RHRC)

West Virginia Human Rights Commission (WVHRC)

At the time you filed your charge with the FEPA, you were notified in writing by the FEPA that
it would dual-file your charge for you with the U.S. Equal Employment Opportunity Commission
(EEOC) in order to preserve your right to file a lawsuit in Federal District Court. The FEPA
processed your charge and notified you in writing of the reason for its closure of your charge. (lf
you believe that you did not receive a closure notice ti‘om the FEPA, contact the FEPA where
you filed your charge, not EEOC). The FEPA then notified EEOC of its closure, and the

reason for the closure. Based on this notification, EEOC has reviewed and adopted the FEPA
findings, and has closed the dual-filed EEOC charge. Therefore, EEOC has issued to you the
attached Dismissal & Notice of Rights, which advises you that "EEOC has adopted the findings
of the state or local fair employment practices agency that investigated this charge". This
Dismissal & Notice of Rights authorizes you to file a lawsuit in Federal District Court within 90
days if you choose to do so (please note, however, that you are not obligated to file a lawsuit).
EEOC does not encourage or discourage such legal action; the decision is entirely up to you. If
you do not wish to file a lawsuit, it is recommended that you keep the Dismissal & Notice of
Rights for your record, and you need do nothing else.

If however, you do elect to file a lawsuit, you must do so with a Federal District Court within 90
days of the date you received the Dismissal & Notice of Rights, not the date it is dated (it is
recommended that you retain the envelope with the postmark). If you intend to consult an
attomey, do so prompt|y; if you do not have a lawyer, you may contact the EEOC Legal Unit at
(215) 440-2828 in order to obtain a list of local attomeys. However, you are responsible for all
legal fees incurred by filing a lawsuit, and you are also responsible for ensuring that your lawsuit
is filed within the 90-day statute of limitations

If you are going to file a lawsuit and need to obtain a copy of the information obtained during the
FEPA’s processing of your charge, make your request promptly in writing to the FEPA that
investigated your charge (NOT EEOC). EEOC does not obtain the FEPA investigative case

file.

(Enclosure with EEOC Form 161)

 

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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

Philadelphia District Office

801 Market Street, Suite 1300

Philadelphia, PA 19107-3127

Intakc Infonnation Group: (800) 669-4000
intake lnfonnation Group TTY: (800) 669-6820
Philadelphia Status Line: (866) 408-8075
Philadelphia Direct Dial: (215) 440-2602

TTY (215) 440-2610

FAX (2 l 5) 440-2632, 2848 & 2604

 

Natasha L. Abel Direct Dial: (Zl 5) 440-2650
State & Local Program Manager Facsimile'. (215) 440-2847

nalasha.abel@gegc_ gov

Mahala Duffy
104 'l`eak Court
Dover, DE 19901

RE: Duffy v. Delaware State University
EEOC Charge No.: l7C-2015-00574

Dear l\/ls. Duffy:

As you requested in your letter of March 30, 2016, l have reviewed the findings and the
investigative file of the Delaware Department of Labor (DDOL), as well as the additional
information you provided. This review failed to reveal that the DDOL was deficient in its
investigation of your charges, and specifically, that it did not correctly apply the laws that EEOC
enforces when examining the evidence and reaching its findings of facts. As a result, lam
recommending that the previous finding of the DDOL, that there was no probable cause to
believe that the law had been violated, be upheld.

ln view of the above, your charge with EEOC is dismissed. Enclosed herein is a Notice of Rights
which Will enable you to file a lawsuit in Federal Court, should you so desire, Within 90 days.
We regret that we cannot be of further assistance to you in this matter.

Sinc ely,

   
 

atasha L. Abel
State and Local Prograrn Manager

  

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Delaware Division of Unemployment Insurance

Case No: 41012231

I, Tammy Jefferson, hereby certify that today, 12/08/2015, I mailed a true and correct copy of the C|aims
Deputy/Agency Representative decision in the above-referenced matter by first class mail:

M DUFFY
104 TEAK CT
DOVER DE 19901

 

 

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State of Delaware pgpAy/m§” oF Notice of _
Department of Labor LA BOR Determmatron
Division of Unemployment insurance UC-409

 

C|aimant M DUFFY SS Number: ***-**-2965 Delivered by Mail
Address 104 TEAK CT Local Office: 4 Redet: No
DOVER DE 19901 Fund Code: 10 Count: ¥es
C|aim Date: 11/15/2015
Date of AC:

Case Number: 41012231

 

Findings of Fact:

The claimant worked for Delaware State University until 09/28/2015 at which time she was discharged from her position. According to the
employer, the claimant was advised on 09/09 that she was denied by Hartford for short-term disability The employer advised the

claimant to either turn in the medical documentation to Hartford or return to work on 09/14. The claimant failed to report The

claimant was given an extension and a certified letter was sent via Fedex on 9/25 advising to return to work on 09/28. The claimant did

not report or contact the employer advising she would not be returning as required.

According to the claimant, she did not receive the letter until after 5:00 pm on 9/28. The claimant indicates she was out of town from

09/25 through 09/28 The claimant provided medical documentation dated 08/31, which indicated the claimant was recommended to be absent
for the month of September. M,

The employer has the burden in a discharge case to show just cause for the claimant s termination. Just cause has been defined as a

Continued on Page 2
Title 19 of Delaware Code 3314(2)

An individual shall be disqualified for benefits: For the week in which he was discharged from his work forjust cause in connection
with his work and for each week thereafter until he has been employed in each of 4 subsequent weeks (whether or not consecutive) and
has earned wages in covered employment equal to not less than 4 times the weekly benefit amount.

 

DlSQUALlF|ED
Determination:

You are disqualified for receipt of benefits, effective with or for week ending 11/21/2015 and for each week thereafter until you have been

employed in each of 4 subsequent weeks (whether or not consecutive) and have earned covered wages in employment equal to not less than 4
times the weekly benefit amount

4 X $328.00 = $1312.00.

 

C|aims Deputy Signature: ML-` Date: 12/08/2015

if you disagree with this determination, you should ask the Claims Deputy for an explanation. if you are not satisfied with the explanation,
you may file an appeal.

;lMPORTANTE! Hay informacion adiciona| en la parte posterior de este documento.

 

C|aimant and Employer Appea| Rights
This determination becomes iina| on 12/18/2015 unless a written appeal is filed. Your appeal must be received or postmarked on or
before the date indicated. |f the last date to file an appeal falls on a Saturday, Sunday or Legal Holiday, the appeal will be acceptable the
next business day.
|f you file an appeal and are still unemployed, you must continue to file weekly claim pay authorization forms with the local office,as
instructed, until you receive a final decision.

Employer DELAWARE STATE UN|VERS|TY
Name and 1200 N DUPONT HWY
Address DOVER DE 19901

 

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State of Delaware g£s;;p/n)\r'rgww ' Notice of
Department of Labor LABCD Determination
Division of Unemployment lnsurance UC-409
Page 2
C|aimant M DUFFY SS Number: ***-**-2965 Delivered by Mai|
Address 104 TEAK CT Local Office: 4 Redet: No
DOVER DE 19901 Fund Code: 10 Count: Yes
C|aim Date: 11/15/2015
Date of AC:
Case Number: 41012231

 

Findings:

willful or wanton act in violation of the employer’s interests, or of the employee’s duties and expected standard of conduct. The
employer must show, by evidence, that the claimant’s work performance or behavior represented willful or wanton misconduct Althoughl
the claimant provided medical documentation, dated for 8/31, the employer advised the claimant that Hartford needed additional
information regarding her medical condition and the reasoning for a leave of absence extension The claimant failed to provide the
employer and their third party the proper documentation to substantiate her need to continue her medical leave of absence The claimant
also failed to report to work as requested by her employer. Therefore. the employer has proven willful and wanton misconduct in this

case The claimant is disquaiified for the receipt ofunemployment benefits

 

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DELAWARE
DEPARTMENT OF

LABoiD

K££Pma
(-_ oEl-AWARE F'Rsr

Division of Unemployment lnsurance
P. O. Box 616
Dover, DE 19903-0616
(302) 739-5461

CLA|MANT FACT-FlNleBr lSSLlE: DISCHARGE

C|aimant Name: M S DUFFY SSN: XXX-XX-XXXX

Date:11/20/15 Requested Response Date: 11/27/15
Employer: DELAWARE STATE UN|VERS|TY Date of Hire: 701/06/14

Employer's Phone No.: 302-857-7111 t Date of Separation: 09/28/15

P|ease be advised that your separating employer will be sent a similar questionnaire lt you

need additional space, use reverse side of this form.

1. What was your job ti le, duties, and supervisor's name?
l' don .:¢h il .€,u/ /'¢

WKO 1 1 `
.M[m M// - Mr'srrrziehj

 
    

 

 

2. What was the reason the employer gave for your termination? P|ease give specific dates
and the names of any persons involved.

lMW/ m 1175 clinic

  
   

 

 

Do ou agree with the reason for separ tion provided b the employer, and if not, why?
11 // mm // in la /1`/ 1114 u 1 ’I(/ spinal '/’-
14 11 A.", 141 _¢¢ /_.,., // ~ / l

MN . aaa/gee

 

 

3. Had you received any warnings (specify type) and/or were you aware of company policy
addressing this type of incideni?

d
,{/n

 

 

 

(ovER)

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4. What changes did you make, after being warned, to correct the problem?

 

f /

,_¢ uf /1!/"1' 'I % //' /¢ [’,/1/ g , .|~.. / ' al l €¢c.,/. f
/,Wf) m ` . 721 /14’1¢f _ .£» ' ’a ’ - `L££(_¢: re ’M?¢ l f
Lzl_ L'¢ //¢ ’l.’ ' . ` -’.llf' » 1 lmr/ k in .' ` v -’ ..

 

5. According to your employer. how did your actions or behavior create a problem for the

business (i. e. other em loyees had to cover my szft, store Was not open as scheduled, elC. )?
2 Mzgd g LQ;:ZYA §§ aM /liér m //mm/) Z-/ésom~c’r,s

 

 

 

6. Additiona| information:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l certify that the above statements are true to the best of my knowledge and am aware that there
are penalties provided for making false statements in connection with a claim for benefits

en tied /,/3.@//,<,»

Claimiant'{)$ignature Date

 

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Delaware State University Procedure

 

 

Title: Discrimination Complaint Resolution Procedure Administrative Council
approval date:
5/1 9/081revised)

 

 

Related Policies and Procedures:

 

 

 

The following procedure is adopted to process complaints alleging violations of the
University’s policies on Non-discrimination, Equal Employment Opportunity, Equal
Educational Opportunity, retaliation, or Sexual Harassment, and will be in addition to any
complaint or charges an employee, applicant or student files with State or federal agencies.
These procedures apply to all complaints of sexual harassment made against an employee.
Complaints of sexual harassment made against a student will be processed under the student
sexual harassment procedure. This procedure encompasses complaints under Americans
with Disabilities Act, Title II, Section 504 of the Rehabilitation Act, Title IX, and any other
State or federal discrimination laws.

The University considers discrimination and/or harassment complaints very serious. The
University will investigate all such allegations in a timely way and seek prompt resolution.

Initiation of a Complaint

Any employee, applicant, student or any member of the public who alleges a violation of
University policy on Non-discrimination, Equal Employment Opportunity, Equal Educational
Opportunity, or Sexual Harassment by a University employee must tile a complaint with the
Assistant Vice President of Human Resources* setting forth the grounds for the complaint. If
the Complaint is against the Assistant Vice President of Human Resources, the complaint must
be filed with the Provost.

F act Finding

The Assistant Vice President of Human Resources* (or the Provost) will initiate the fact-
finding process in response to the complaint and attempt to resolve the issue with the
complainant

Cont`erence with the President

lf the Assistant Vice President of Human Resources* (or Provost) cannot resolve the
complaint, the matter will be forwarded to the President of the University with a
recommendation based on fact tinding. The President will hold an information conference
with the parties (together or separately at_the President’s discretion) and make a finding and
decision of whether there has been a violation of University Policy, and the action to be taken.

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Confidentiality

All parties and staff will keep the complaint, fact-finding process and conference Or hearings
confidential, except to the extent that it is necessary to investigate and process the complaint
or to meet the requirements of a collective bargaining agreement

Reprisals and False Complaints

Persons filing complaints of discrimination, harassment, or retaliation will be protected against
reprisals by actions that are appropriate to the circumstances Those persons filing deliberate
false complaints will be subject to disciplinary action including dismissal.

Disciplinary Action

Substantiated complaints of violation of University policies may subject the offending party to
disciplinary action.

Note: *lndicates that the Assistant Vice President of Human Resources may designate another
University administrator to act in his or her absence.

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Delaware State University Procedure

 

 

Title: The Family and Medical Leave Administrative Council approval date: j
10-24-2007

 

 

Related Policies and Procedures: Leave Policy

 

 

 

Background -The Family and Medical Leave Act (FMLA) was enacted on February 5, 1993 as a
means of balancing the demands of the workplace with the needs of families, and promoting the
stability, integrity, and economic security of families in a manner that accommodates the
legitimate interests of employers

The Family and Medial Leave Act entitles an "eligible" employee to take up to 12 work weeks of
leave during any 12-m0nth period for certain family and medical reasons. FMLA maintains
eligible employees' pre-existing group health insurance coverage during periods of FMLA leave
and restores most eligible employees to their same or an equivalent position at the conclusion of
their FMLA leave, The following is a brief summary of the major provisions of the federal law
and its State application, University Co]lective Agreements and Professional Employee
Handbook.

1. Eligibilicy

To be eligible for FMLA leave, employees must have one year of aggregate Delaware
State University service and have been paid for at least 1,250 hours during the prior 12
months.

2. Provisions

Eligible employees may take up to 12 work weeks of paid or unpaid FMLA leave
(continuous or interrnittently) during an FMLA 12- month period. The eligibility period
begins on the first day of FMLA leave and runs for 365 days.

3. Reasons for Using FN[LA

Leave shall be granted for any of the following reasons: to care for an employee's child
after birth, or placement for adoption or foster carel; to care for an employee's spouse,
son, daughter, or parent who has a serious health condition living at home; or for a
serious health condition that renders an employee unable to perform his/her job. Under
certain circumstances, FMLA leave may be taken on an intermittent basis, or employees

 

1 Employee FMLA leave entitlement for birth, adoption or placement for foster care
expires one year following the date of birth, adoption or placement.

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may work a part-time schedule Such accommodations shall be made only when
medically necessary or when agencies agree to a reduced leave schedule

4. Qualifying Conditions

Specific conditions will determine what qualifies as a serious health condition. At least
one of the following shall be satisfied: inpatient hospital care; absence from work or
school for more than three consecutive calendar days that involves continuing care by a
health care provider; continuing treatment for a chronic serious health eondition;
continuing treatment for a serious health condition that if not treated would result in
incapacitation for more than three days; and any period of incapacitated prenatal care

The three-day waiting period does not apply for pregnancy, chronic serious health
conditions, or for multiple treatments

Common maladies like colds, flu, earaches, headaches other than migraine, etc., are not
considered to be serious health conditions Plastic surgery after injury or removal of a
cancerous growth would be considered a serious health condition. Mental illness may be
a serious health condition. Cosmetic surgery is not considered a serious health condition
unless in-patient hospital care is required.

Continuing treatment means treatment two or more times, or one treatment resulting in a
regimen of continuing treatment under the supervision of a health care provider, or
continuing supervision but not necessarily being actively treated for a severe long-term or
chronic condition.

5. Def`mitions

To determine who is covered under FMLA, the following definitions shall apply:
"spouse" means a current husband or wife as defined or recognized under Delaware law
for the purposes of marriage (Delaware does not recognize common-law marriages.)
"Parent" means a biological parent or an individual who stands or stood "in loco
parentis," meaning, "in place of parent," to the employee when the employee was a child.
(This does not extend to a parent "in-law.") "Son" or "daughter“ means a biological,
adoptive, step, or foster child, a legal ward, or a child of a person standing "in loco
parentis" under age 18 or age 18 or older and incapable of self-care because of a mental
or physical disability.

6. Application

Employees on FMLA shall use available accrued annual and/or accrued sick leave in
accordance with the leave policy.

An employee may be on a workers' compensation absence due to an on-the-job injury or
illness, which also qualifies as a serious health condition under FMLA. The workers'
compensation absence and FMLA leave run concurrently. lf employees are offered a

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"light duty" assignment they are permitted but not required to accept the position.
Consequently, they may no longer qualify for payments from the workers' compensation
benth plan, but are still entitled to continue on FMLA either until the employee is able
to return to the same job or until the 12-week FMLA leave entitlement is exhausted.
FMLA leave taken on a part-time or intermittent basis is charged on a pro-rated basis,

7 . Notice and Medical Certification

Employees are required to provide advanced leave notice and medical certification
whenever practical. Ordinarily, 30 days advance notice shall be given when leave is
"foreseeable." Medical certification to support a request for FMLA leave is required and
the University may also require second or third opinions (at the University’ s expense)
and a "iitness-for-duty" report to return to work.

Employees are responsible for providing the University with the qualifying medical
reason. The University will make the FMLA designation within two business days. This
designation may be verbal, but shall be followed up in writing Medical re-certification
may be required every 30 days.

The Certification of Health Care Provider can be found at the University’s web site at:
ilgp:/./www.tlcsu.edu Human Resources Forrns & Templates.

8. Job Benefits and Protection

The FMLA provides maintained2 employee health care coverage for the duration of the
leave period. Employees who fail to return to work after their FMLA leave entitlement
has been exhausted shall be responsible for their State share under their existing " group
health plan" unless they fail to return to work due to their own or eligible family
member‘s serious health condition, or for some other reason beyond their control.
Employees are responsible for re-payment of State contributions toward coverage for any
unpaid leave if they fail to return to work. Coverage will be reinstated upon an
employee's return without waiting until the next open enrollment period. We will not
interfere with, restrain, or deny the exercise of any right provided under FMLA.
Additionally, we will not discharge or discriminate against any person for opposing any
practice made unlawful by FMLA or for their involvement in any proceeding under or
relating to MA.

 

2 If an employee on FMLA leave is more than 30 days late in paying the employees
contribution for health insurance, the University is no longer obligated to maintain that
insurance However, before dropping coverage, we will provide the employee written
notice at least 15 days before coverage is to cease The notice will advise the employee
that coverage will be dropped on a specified date at least 15 days after the date of notice
unless payment is made

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POLICY AND PROCEDURES: Equal Opportunity, Harassment
and Nondiscrimination

Delaware State University affirms its commitment to promote the goals of fairness and
equity in all aspects of the educational enterprise All complaints under the policies below
are subject to resolution using Delaware State University’s Equitv Resolution Process, as
detailed below. The Equity Resolution Process is applicable regardless of the status of the
parties involved, who may be members or non-members of the campus community, students,
student organizations, faculty, administrators and/or staff. Delaware State University
reserves the right to act on incidents occurring on-campus or off-campus, or online, when the
conduct could have an on-campus impact or impact on the educational mission of Delaware
State University.

The Vice President for Student Affairs serves as the University’s Title IX
Coordinator and oversees implementation of Delaware State University’s policy on
equal opportunity, harassment and nondiscrimination Reports of discrimination,
harassment and/or retaliation should be made to the Title IX Coordinator [or a
Deputy Title lX Coordinator] promptly, but there is no time limitation on the filing
of complaints, so long as the accused individual remains subject to the University’s
jurisdiction Reporting is addressed more specifically in Section 7, below.

This policy applies to behaviors that take place on the campus, at university-sponsored
events and may also apply off-campus and to actions online when the Title lX Coordinator
determines that the off-campus conduct affects a substantial Delaware State University
interest A substantial Delaware State University interest is defined to include:

a) Any action that constitutes a criminal offense as defined by federal or Delaware
law. This includes, but is not limited to, single or repeat violations of any local,
state or federal law committed in the locale where the affected Delaware State
University campus is located;

b) Any situation where it appears that the accused individual may present a danger
or threat to the health or safety of self or others;

c) Any situation that significantly impinges upon the rights, property or
achievements of self or others or significantly breaches the peace and/or causes
social disorder;

d) Any situation that is detrimental to the educational interests of Delaware State
University; and /or

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e) Any online postings or other electronic communication by any member of the
DSU community, including cyber-bullying, cyber-stalking, cyber-harassment,
etc. occurring completely outside of Delaware State University’s control (e.g.,
not on Delaware State University networks, websites or between Delaware State
University email accounts) will only be subject to this policy when those online
behaviors can be shown to cause a substantial on-campus disruption Otherwise,
such communications are considered speech protected under the lSl Amendment
to the Constitution.

f) Off-campus discriminatory or harassing speech by employees1 may be regulated
by Delaware State University when such speech is made in an employee’s
official or work-related capacity.

Inquiries about this policy and procedure may be made internally to:

Title IX Coordinator:

Dr. Stacy L. Downing

Assistant Vice President of Student Affairs
Martin Luther King Student Center
Delaware State University

1200 North DuPont Highway

Dover, DE 19901

Telephone: 302-857-6300

Email: sdowning@desu.edu

Deputy Title lX Coordinators:
Mary Hill

Senior Associate AD/SWA
302-857-7633

mhill@desu.edu

 

1 “Emp|oyee" for the purpose of this Policy and Process is defined as a person who has been hired to
contribute labor or expertise to Delaware State University, and includes, without limitation, a|| faculty,
(regard|ess of status), staff and administrators This includes, but is not limited to, faculty or staff members
who engage in instructional or evaluative activities of students and/or who engage in non-academic work,
including work as a teaching or research assistant. Graduate or undergraduate students are also considered
employees by the University when they are performing official University supervisory or evaluative roles with
respect to other students.

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Rebecca Fox-Lykens
Director, Center for Teaching & Learning
302-857-6140

rlykens@desu.edu

Brandy Garlic
Resident Director
302-857-8972

bgarlic§chesu.edu

Sandra Golson
Assistant to Associate Vice President for Human Resources
302-857-6261

sgolson@desu.edu

Kevin Noriega
Admissions Counselor
302-857-7780
kenoriega@desu.edu

lnquiries may be made externally to:

Office for Civil Rights (OCR)

U.S. Department of Education

400 Maryland Avenue, SW

Washington, DC 20202-1100

Customer Service Hotline #: (800) 421-3481
Facsimile: (202) 453-6012

TDD#: (877) 521-2172

Email: OCR@ed.gov

Web: http://www.ed.gov/ocr

Equal Employment Opportunity Commission (EEOC)
Contact: h@://www.eec&gov/contact/

 

l. DELAWARE STATE UNIVERSITY POLICY ON NONDISCRIMINATION

Delaware State University adheres to all federal and state civil rights laws banning
discrimination in public institutions of higher education Delaware State University Will not

discriminate against any employee, applicant for employment student or applicant for
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admission on the basis of race, hearing status, personal appearance color, sex, pregnancy,
political affiliation, source of income, place of business residence, religion, creed, ethnicity,
national origin (including ancestry), citizenship status, physical or mental disability, age,
marital status, family responsibilities sexual orientation, gender, gender identity, veteran or
military status (including special disabled veteran, Vietnam-era veteran, or recently
separated veteran), predisposing genetic characteristics domestic violence victim status or
any other protected category under applicable local, state or federal law, including
protections for those opposing discrimination or participating in any complaint process on
campus or within the Equal Employment Opportunity Commission or other human rights
agencies

This policy covers nondiscrimination in employment and in access to educational
opportunities both of which are to be broadly defined and understood Therefore, any
member of the campus community, guest or visitor who acts to deny, deprive or limit the
educational or employment benefits and/or opportunities of any member of the campus
community on the basis of their actual or perceived membership in any of the protected
classes listed above is in violation of Delaware State University policy on nondiscrimination
When brought to the attention of Delaware State University, any such discrimination will be
appropriately remedied by Delaware State University according to the procedures below.

2. DELAWARE STATE UNIVERSITY POLICY ON ACCOMMODATION
OF DISABILITIES

Delaware State University is committed to full compliance with the Americans With
Disabilities Act of 1990 (ADA) and Section 504 of the Rehabilitation Act of 1973,
which prohibit discrimination against qualified persons with disabilities as well as
other federal and state laws pertaining to individuals with disabilities Under the ADA
and its amendments a person has a disability if he or she has a physical or mental
impairment that substantially limits a major life activity. The ADA also protects
individuals who have a record of a substantially limiting impairment or who are
regarded as disabled by the institution whether qualified or not. A substantial
impairment is one that significantly limits or restricts a major life activity such as
hearing, seeing, speaking, breathing, performing manual tasks, walking or caring for
oneself.

The Director of UniversitLAccessibilitv Services has been designated as the ADA/504
Coordinator responsible for coordinating efforts to comply with these disability laws,
including reporting of any complaint alleging noncompliance

a. Students with Disabilities

Delaware State University is committed to providing qualified students with disabilities with
reasonable accommodations and support needed to ensure equal access to the academic
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programs and activities of Delaware State University.

All accommodations are made on a case-by-case basis A student requesting any
accommodation should first contact the Director of University Accessibility Services
who coordinates services for students with disabilities The director reviews
documentation provided by the student and, in consultation with the student, determines
which accommodations are appropriate to the student’s particular needs and academic
programs

b. Employees with Disabilities

Pursuant to the ADA, Delaware State University will provide reasonable accommodation(s)
to all qualified employees with known disabilities where their disability affects the
performance of their essential job functions except where doing so would be unduly
disruptive or would result in undue hardship

An employee with a disability is responsible for requesting an accommodation in writing to

 

the Director of Universithccessibilitv Services and providing appropriate documentation
The director will work with the employee’s supervisor, Human Resources Public Safety,
and any other necessary University resources to identify which essential functions of the
position are affected by the employee’s disability and what reasonable accommodations
could enable the employee to perform those duties

3. DELAWARE STATE UNIVERSITY POLICY ON DISCRIMINATORY
HARASSMENT

Students staff, administrators and faculty are entitled to a working and educational
environment free of discriminatory harassment Delaware State University’s harassment
policy is not meant to inhibit or prohibit educational content or discussions inside or outside
of the classroom that include germane, but controversial or sensitive subject matters
protected by academic freedom. The sections below describe the specific forms of legally
prohibited harassment that are prohibited under Delaware State University policy.

a. Discriminatory and Bias-Related Harassment

Harassment constitutes a form of discrimination that is prohibited by law. Delaware State
University will remedy all forms of harassment when reported, whether or not the
harassment rises to the level of creating a hostile environment When harassment rises to the
level of creating a hostile environment Delaware State University may also impose
sanctions on the harasser. Delaware State University’s harassment policy explicitly prohibits
any form of harassment, defined as unwelcome conduct on the basis of actual or perceived
membership in a protected class by any member or group of the community

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A hostile environment may be created by oral, written, graphic, or physical conduct that is
sufficiently severe, persistent/pervasive and objectively offensive that it interferes with,
limits or denies the ability of an individual to participate in or benth from educational
programs or activities or employment access benefits or opportunities2

Offensive conduct and/or harassment that does not rise to the level of discrimination or that
is of a generic nature not on the basis of a protected status may not result in the imposition of
discipline under University policy, but will be addressed through civil confrontation,
remedial actions education and/or effective conflict resolution mechanisms For assistance
with conflict resolution techniques employees should contact the Associate Vice President
of Human Resources and students should contact the Director of Judicial Affairs

Delaware State University condemns and will not tolerate discriminatory harassment against
any employee, student, visitor or guest on the basis of any status protected by University
policy or law.

b. Sexual Harassment

Both the Equal Employment Opportunity Commission and the State of Delaware regard
sexual harassment as a form of sex/ gender discrimination and, therefore as an unlawful
discriminatory practice Delaware State University has adopted the following definition of
sexual harassment7 in order to address the special environment of an academic community,
which consists not only of employer and employees but of students as well.3

Sexual harassment is:

0 unwelcome, sexual or gender-based verbal, written or physical conduct.

Anyone experiencing sexual harassment in any Delaware State University program
(academic, athletic, residential or social) is encouraged to report it immediately to the
University’s Title lX Coordinator.

Sexual harassment creates a hostile environment, and may be disciplined, when it is:

0 sufficiently severe, persistent/pervasive and/or objectively offensive that it,

 

2 This definition of hostile environment is based on Federal Register / Vol. 59, No. 47 / Thursday, March 10, 1994; Department Of
Education Office For Civil Rights, Racial lncidents And Harassment Against Students At Educational lnstitutions lnvestigative
Guidance. The document is available at hgp:/'/www.cd.gov/about/oftices/list/'ocr/doc s/rnce394.html.

3 A|so of relevance is the Office of Civil Rights 2001 statement on sexual harassmentl "Revised Sexual Harassment Guidance:
Harassment Of Students By School Employees Other Students, Or Third Parties, Title IX," which can be found at
lrttp:,",/‘wwa.Ldgov,’legislation/FedRegister/other/ZOO l -l /()l l90l b.html, as well as the April, 201 l Dear Colleague Letter on
Campus Sexual Violence, which can be found at:

http:.//www.whitehouse.Gov,/sites/default/tiles/dear colleague sexual violence pdf

 

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o has the effect of unreasonably interfering With, denying or limiting employment
opportunities or the ability to participate in or benefit from any University program, and
is

o based on power differentials (quid pro quo), the creation of a hostile environment or
retaliation

POLICY EXPECTATIONS WITH RESPECT TO CONSENSUAL RELATIONSHIPS

T here are inherent risks in any casual, romantic or sexual relationship between individuals
in unequal positions (such as faculty and student supervisor and employee). T hese
relationships may be less consensual than perceived by the individual whose position
confers power. T he relationship also may be viewed in different ways by each of the parties,
particularly in retrospect. Furthermore, circumstances may change, and conduct that was
previously welcome may become unwelcome. Even when both parties have consented at the
outset to a romantic or sexual involvement this past consent may not remove grounds for a
later charge of a violation of applicable sections of this policy. There@)re, for the personal
protection o@tembers of this communitv, relationshist in which power differentials are
inherent (facultv-student, staff-studentl administrator-student, supervisor-employee@re
strongly discouraged even in cases of consensual casual and/or romantic involvement

Gz'ven that a consensual casual and/or romantic or sexual relationships in which one party
maintains a direct supervisory or evaluative role over the other party are, at a minimum
unethical, therefore, persons with direct supervisory or evaluative responsibilities who are
involved in such relationships must bring those relationships to the timely attention of their
supervz'sor. Disclosure of the relationship will likely result in the necessity to remove the
employee from the supervisory or evaluative responsibilities or shift a party out of being
supervised or evaluated by someone with whom they have established a consensual
relationship T his includes without limitation, RAs and students over whom they have direct
responsibility While no relationships are forbidden by this policy, failure to self-report such
relationships to a supervisor as required will result in disciplinary action for an employee

c. Sexual Misconduct

State law defines various violent and/or non-consensual sexual acts as crimes Additionally,
Delaware State University has defined categories of sexual misconduct as stated below, for
which action under this policy may be imposed. Generally speaking, Delaware State
University considers Non-Consensual Sexual lntercourse violations to be the most serious
and therefore typically imposes the most severe sanctions including suspension or expulsion
for students and termination for employees However, Delaware State University reserves
the right to impose any level of sanction, up to and including suspension or
expulsion/termination for any act of sexual misconduct or other gender-based offenses

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based on the facts and circumstances of the particular complaint. Acts of sexual misconduct

may be committed by any person upon any other person, regardless of the sex, gender,

sexual orientation and/or gender identity of those involved.

Violations include:

i.

ii.

Sexual Harassment (as defined in section b above)

Non-Consensual Sexual Intercourse

Defined as:

any sexual penetration or intercourse (anal, oral or vaginal)
however slight

with any object

by a person upon another person

that is without consent and/or by force

Sexual penetration includes vaginal or anal penetration by a penis, tongue, finger

or object, or oral copulation by mouth to genital contact or genital to mouth
contact.

iii.

iv.

Non-Consensual Sexual Contact

Defined as:

0 any intentional sexual touching

o however slight

0 with any object

o by a person upon another person

0 that is without consent and/or by force

Sexual touching includes any bodily contact with the breasts, groin, genitals,
mouth or other bodily orifice of another individual, or any other bodily
contact in a sexual manner.

Sexual Exploitation

Sexual Exploitation refers to a situation in which a person takes non-
consensual or abusive sexual advantage of another, and situations in which
the conduct does not fall within the definitions of Sexual Harassment, Non-
Consensual Sexual Intercourse or Non-Consensual Sexual Contact. Examples
of sexual exploitation include, but are not limited to:

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o Sexual voyeurism (such as watching a person undressing, using the
bathroom or engaged in sexual acts without the consent of the person(s)
observed)

o Taking pictures or video or audio recording another in a sexual act, or in
any other private activity without the consent of all involved in the
activity, or exceeding the boundaries of consent (such as allowing another
person to hide in a closet and observe sexual activity, or disseminating
sexual pictures without the photographed person’s eonsent)

0 Prostitution

0 Sexual exploitation also includes engaging in sexual activity with another
person while knowingly infected with human immunodeficiency virus
(HIV) or other sexually transmitted disease (STD) and without informing
the other person of the infection, and further includes administering
alcohol or drugs (such as “date rape” drugs) to another person without his
or her knowledge or consent

v. Consent

Consent is knowing, voluntary and clear permission by word or action, to
engage in mutually agreed upon sexual activity. Since individuals may
experience the same interaction in different ways, it is the responsibility of
each party to make certain that the other has consented before engaging in the
activity. For consent to be valid, there must be a clear expression in words or
actions that the other individual consented to that specific sexual conduct.

A person cannot consent if he or she is unable to understand what is
happening or is disoriented, helpless, asleep or unconscious for any reason,
including due to alcohol or other drugs. An individual who engages in sexual
activity when the individual knows, or should know, that the other person is
physically or mentally incapacitated has violated this policy.

It is not an excuse that the individual respondent accused of sexual
misconduct was him or herself intoxicated and, therefore, did not realize the
incapacity of the other.

Incapacitation is defined as a state where someone cannot make rational,
reasonable decisions because they lack the capacity to give knowing consent
(e.g., to understand the “who, what, when, where, why or how” of their
sexual interaction). This policy also covers a person whose incapacity results
from mental disability, involuntary physical restraint and/or from the taking
of incapacitating drugs.

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Consent to some sexual contact (such as kissing or fondling) cannot be
presumed to be consent for other sexual activity (such as intercourse). A
current or previous dating relationship is not sufficient to constitute consent
The existence of consent is based on the totality of the circumstances,
including the context in which the alleged incident occurred and any similar
previous patterns that may be evidenced Silence or the absence of resistance
alone is not consent. A person can withdraw consent at any time during
Sexual activity by expressing in words or actions that he or she no longer
wants the act to continue, and, if that happens, the other person must stop
immediately

In Delaware, a minor (meaning a person under the age of 12 years) cannot
consent to sexual activity. Sexual contact by an adult 20 years of age or older
with a person younger than 16 years old is a crime, as well as a violation of
this policy, even if the minor wanted to engage in the act. § ll Del. C.
3761.

The state definition of consent which is applicable to criminal prosecutions
for sex offenses in Delaware, may differ somewhat from the definition used
in this Policy to address Policy violations. The Policy definition will control
for the purpose of determining violations of and sanctions under this Policy.

4. O'I`HER CIVIL RIGHTS OFFENSES, WHEN THE ACT IS BASED UPON
THE STATUS OF A PROTECTED CLASS

o Threatening or causing physical harm, extreme verbal abuse or other conduct
which threatens or endangers the health or safety of any person on the basis of
their actual or perceived membership in a protected class

» Discrimination, defined as actions that deprive other members of the community
of educational or employment access, benefits or opportunities on the basis of
their actual or perceived membership in a protected class

» Intimidation, defined as implied threats or acts that cause an unreasonable fear of
harm in another on the basis of actual or perceived membership in a protected
class

» Hazing, defined as acts likely to cause physical or psychological harm or social
ostracism to any person within the Delaware State University community, when
related to the admission, initiation, pledging, joining, or any other group-
affiliation activity (as defined further in the hazing policy) on the basis of actual
or perceived membership in a protected class; hazing is also illegal under
Delaware State law and prohibited by Delaware State University policy

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0 Bullying, defined as repeated and/or severe aggressive behavior likely to
intimidate or intentionally hurt, control or diminish another person, physically or
mentally on the basis of actual or perceived membership in a protected class

0 Violence between those in an intimate relationship to each other on the basis of
actual or perceived membership in a protected class4 (this includes romantic
relationships, domestic and/ or relationship violence)

0 Stalking, defined as a course of conduct directed at a specific person on the basis
of actual or perceived membership in a protected class that is unwelcome and
would cause a reasonable person to feel fear5

~ Violation of any other Delaware State University rules, when a violation is
motivated by the actual or perceived membership of the victim in any protected
class, may be pursued using this policy and process

The sanctions for committing any of these violations will depend upon the circumstances
and facts surrounding the violation

5. RETALIATION

Retaliation is defined as any adverse action taken against a person participating in a
protected activity because of their participation in that protected activity. Retaliation against
an individual for alleging harassment, supporting a complainant or for assisting in providing
information relevant to a claim of harassment is a serious violation of Delaware State
University policy and will be treated as another possible instance of harassment or
discrimination Acts of alleged retaliation should be reported immediately to the Title IX
Coordinator or to a member of the Equity Resolution Panel (see below) and Will be promptly
investigated Delaware State University will take appropriate steps to protect individuals
who fear that they may be subjected to retaliation

 

4 The state definition of domestic violence is [10 De|. C.§1041]: ”Domestic violence" means abuse
perpetrated by one member against another member of the following protected c|asses: (a) Fami|y...; or (b)
Former spouses,~ persons cohabitating together who are holding themselves out as a coup|e, with or without
a child in common; persons living separate and apart with a child in common; or persons in a current or
former substantive dating relationship. This definition is applicable to criminal prosecutions, but differs from
the DSU definition for policy violations.

5 The state definition of sta|king is [11 De|. C. § 1312]: (a) a person is guilty of sta|king when the person
knowingly engages in a course of conduct directed at a specific person and that conduct would cause a
reasonable person to: (1) fear physical injury to himself or herself or that of another person; or (2) suffer
other significant mental anguish or distress that may, but does not necessari|y, require medical or other
professional treatment or counseling Again, the state definition will be used for criminal prosecutions; the
DSU definition for policy violations.

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6. REMEDIAL ACTION

Delaware State University will implement initial remedial and responsive actions upon
notice of alleged harassment, retaliation and/or discrimination, and will take additional
prompt remedial and/or disciplinary action with respect to any member of the community,
guest or visitor who has been found to engage in harassing or discriminatory behavior or
retaliation Procedures for handling reported incidents are fully described below.
Deliberately false and/or malicious accusations of harassment, as opposed to complaints
which, even if erroneous, are made in good faith, are just as serious an offense as harassment
itself, and will be subject to appropriate disciplinary action

7. CONFIDENTIALITY AND REPORTING OF OFFENSES UNDER THIS POLICY

Delaware State University officials, depending on their roles at the University, have varying
reporting responsibilities and abilities to maintain confidentiality ln order to make informed
choices, one should be aware of confidentiality and mandatory reporting requirements when
consulting campus resources. On campus, some resources may maintain confidentiality,
offering options and advice without any obligation to inform an outside agency or individual
unless you have requested information to be shared Other resources exist for you to report
crimes and policy violations and these resources will take action when you report
victimization to them. Most resources on campus fall in the middle of these two extremes;
neither Delaware State University, nor the law, requires them to divulge private information
that is shared with them, except in rare circumstances The following describes the three
reporting options at Delaware State University:

a. Confidential Reporting

lf a reporting party would like the details of an incident to be kept
confidential, the reporting party may speak with on-campus counselors,
campus health service providers, off-campus local rape crisis counselors,
domestic violence resources or, local or state assistance agencies, all of whom
will maintain confidentiality except in extreme cases of immediacy of threat
or danger or abuse of a minor. Campus counselors are available for students
and the Employee Assistance Program is available for employees to help free
of charge and can be seen on an emergency basis during normal business
hours.

b. Formal Reporting Options

University employees have a duty to report, unless they fall under the section
above. Parties bringing a complaint may want to consider carefully whether

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they share personally identifiable details with non-confidential employees, as
those details must be shared by the employee with the Title IX Coordinator
and/or Deputy Coordinators. Non-confidential employees must share all
details of the reports they receive. lf a complainant does not wish for their
name to be shared, does not wish for an investigation to take place7 or does
not want a formal resolution to be pursued, the complainant may make such a
request to the Title IX Coordinator or Deputy Coordinators, who will
evaluate that request in light of the duty to ensure the safety of the campus
and comply with federal law.

ln cases indicating pattern, predation, threat and/or violence, the University
will be unable to honor a request for confidentiality ln cases where the
victim requests confidentiality and the circumstances allow the University to
honor that request, the University will offer interim support and remedies to
the victim and the community, but will not otherwise pursue formal action A
party bringing a complaint has the right, and can expect, to have complaints
taken seriously by the University when formally reported, and to have those
incidents investigated and properly resolved through these procedures
Formal reporting still affords privacy to the reporter, and only a small group
of officials who need to know will be told, including but not limited to: e.g.
the Division of Student Affairs, Public Safety, or the Threat Assessment
Team. lnformation will be shared only as necessary with investigators
witnesses and the responding party The circle of people with this knowledge
will be kept as tight as possible to preserve the privacy rights of the party
bringing a complaint. Additionally, anonymous reports can be made by
victims and/or third parties using the online reporting form posted at
https://www.desu.edu/TitlelX. Note that these anonymous reports may
prompt a need for the institution to investigate.

 

8. FEDERAL TIMELY WARNING OBLIGATIONS

Victims of sexual misconduct should be aware that Delaware State University administrators
must issue timely warnings for incidents reported to them that pose a substantial threat of
bodily harm or danger to members of the campus community Delaware State University
will make every effort to ensure that a victim’s name and other identifying information is not
disclosed, while still providing enough information for community members to make safety
decisions in light of the potential danger.

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EQUITY RESOLUTION PROCESS FOR RESOLVING
COMPLAINTS OF HARASSMENT, SEXUAL MISCONDUCT
AND OTHER FORMS OF DISCRIMINATION

Delaware State University will act on any formal or informal complaint or notice of
violation of the policy on Equal Opportunity, Harassment and Nondiscrimination that is
received by the Title IX Coordinator, deputies any member of the Equity Resolution Panel
or a member of the administration As noted above, confidentiality will be maintained
where possible and desired, but safety and security of the campus must be the first and
controlling objective

The procedures described below will apply to all complaints involving members of the
University community, whether students staff or faculty members Redress and requests
for responsive actions for complaints brought against non-members of the community are
also covered by these procedures

l. Equity Resolution Panel (ERP)

Members of the ERP are announced in an annual distribution of this policy to campus
prospective students their parents and prospective employees The list of members and a
description of the panel can be found at https://www.desu.edu/TitlelX. Members of the
ERP are trained annually in all aspects of the resolution process and can serve in any of the
following roles at the direction of the Title IX Coordinator or his/her designee:

¢ To provide sensitive intake and initial counseling of complainants
0 To serve in a mediation role in conflict resolution

¢ To investigate complaints

0 To act as advisors to those involved in complaints

¢ To serve on hearing panels for complaints

¢ To serve on appeal panels for complaints

ERP members also recommend proactive policies and serve in an educative role for the
community The President, in consultation with the Title IX Coordinator and such others as
the President deems desirable, appoints the panel, which reports to the Title IX Coordinator.
ERP members receive annual training organized by the Title IX Coordinator, including a
review of Delaware State University policies and procedures so that they are able to
provide accurate information to members of the community All ERP members are required

to attend this annual training
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The Equity Resolution Panel will include approximately twenty (25) members from across
the campus It will be representative of the DSU community, except that students will not
normally be asked to serve on the ERP.

Panel members are usually appointed to three-year terms (initial appointments will be
staggered to avoid losing all experienced members every three years). Appointments to the
ERP should be made with attention to representation of groups protected by the harassment
and non-discrimination policy, Individuals who are interested in serving on the ERP are
encouraged to contact the Title IX Coordinator.

2. Filing a Complaint

Any member of the community, guest or visitor who believes that the policy on Equal
Opportunity, Harassment and Nondiscrimination has been violated should contact the Title
IX Coordinator, deputies or a member of the ERP. lt is also possible for employees to
notify a supervisor, or for students to notify an administrative advisor or faculty member, or
any member of the community may contact Public Safety. These individuals will in turn
notify the Title IX Coordinator. The Delaware State University website also includes a
reporting form at which may be used to initiate a

 

complaint.

All employees receiving reports of a potential violation of Delaware State University policy
are expected to promptly contact the Title IX Coordinator, within 24 hours of becoming
aware of a report or incident. All initial contacts will be treated with the maximum possible
privacy: specific information on any complaints received by any party will be reported to
the Title IX Coordinator, but, subject to the University’s obligation to redress violations
every effort will be made to maintain the privacy of those initiating a report of a complaint.
ln all cases Delaware State University will give consideration to the complainant with
respect to how the complaint is pursued, but reserves the right, when necessary to protect
the community, to investigate and pursue a resolution when an alleged victim chooses not to
initiate or participate in a formal complaint.

3. Complaint Intakc

Following receipt of a notice or a complaint, the Title IX Coordinator6 will promptly assign
an ERP panel member to work as advisor to the person bringing the complaint or that person

 

6 lf circumstances require, the President or Title lX Coordinator may designate another person to oversee the
process below, should a complaint be made against the Coordinator or the Coordinator be otherwise
unavailable or unable to fulfill his/her duties

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may choose from the ERP pool or choose a non-trained advisor from outside the pool, or
proceed without an advisor. The accused will have the same rights to an advisor, either
appointed by the Coordinator or selected by the accused Normally, within two business
days an initial determination is made whether a policy violation may have occurred and/or
whether conflict resolution might be appropriate If the complaint does not appear to allege
a policy violation or if conflict resolution is desired by the person bringing the complaint,
and it appears appropriate given the nature of the alleged behavior, then the complaint does
not proceed to investigation

A full investigation will necessarily be pursued if there is evidence of a pattern of
misconduct or a perceived threat of further harm to the community or any of its members
Delaware State University aims to complete all investigations within a 60 business day time
period, which can be extended as necessary for appropriate cause by the Title IX
Coordinator with notice to the parties

4. Investigation

If a complainant wishes to pursue a formal complaint or if Delaware State University, based
on the alleged policy violation, wishes to pursue a formal complaint, then the Title IX
Coordinator appoints ERP members to conduct the investigation, such appointments usually
occurring within two business days of determining that a complaint should proceed.
lnvestigation of complaints brought directly by those alleging harm should be completed
expeditiously lnvestigation may take longer when initial complaints fail to provide direct,
first-hand information Delaware State University may agree to a short delay to allow
evidence collection when criminal charges on the basis of the same behaviors that invoke
this process are being investigated University action will not be altered or precluded on the
grounds that civil or criminal charges involving the same incident have been filed or that
charges have been dismissed or reduced All investigations will be thorough, reliable and
impartial, and will entail interviews with all relevant parties and witnesses obtaining
available evidence and identifying sources of expert information, if necessary

5. Interim Remedies

If, in the judgment of the Title IX Coordinator, the safety or well-being of any member(s) of
the campus community may be jeopardized by the presence on-campus of the accused
individual or the ongoing activity of a student organization whose behavior is in question,
the Title IX Coordinator (or designee) may provide interim remedies intended to address the
short-term effects of harassment, discrimination and/or retaliation, i.e., to redress harm to
the alleged victim and the community and to prevent further violations These remedies may
include referral to counseling and health services or to the Employee Assistance Program,
education of the community, altering the housing situation of an accused student or resident
employee (or the alleged victim, if desired), altering work arrangements for employees

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providing campus escorts implementing contact limitations between the parties offering
adjustments to academic deadlines course schedules etc.

Delaware State University may suspend a student, employee or organization on an interim
basis pending the completion of ERP investigation and procedures In all cases in which an
interim suspension is imposed, the student, employee or student organization will be given
the opportunity to meet with the Title IX Coordinator prior to such suspension being
imposed, or as soon thereafter as reasonably possible, to show cause why the suspension
should not be implemented The Title IX Coordinator has sole discretion to implement or
stay an interim suspension under the policy on Equal Opportunity, Harassment and
Nondiscrimination, and to determine its conditions and duration Violation of an interim
suspension under this policy will be grounds for expulsion or termination

During an interim suspension or administrative leave, a student or employee may be denied
access to Delaware State University housing and/or Delaware State University
campus/facilities/events. As determined by the Title IX Coordinator or designee, this
restriction includes classes and/or all other Delaware State University activities or privileges
for which the student or employee might otherwise be eligible. At the discretion of the Title
IX Coordinator or designee, alternative coursework options may be pursued to ensure as
minimal an academic impact as possible on the accused student or employee, Employees
suspended on a interim basis will normally continue to be paid during the suspension

6. Complaint Resolution

During or upon the completion of investigation the investigators will meet with the Title IX
Coordinator. Based on that meeting, the Title IX Coordinator will make a decision on
whether there is reasonable cause to proceed with the complaint. If the Title IX Coordinator
decides that no policy violation has occurred or that the preponderance of evidence (i.e.,
whether it is more likely than not that the accused individual committed each alleged
violation) does not support a finding of a policy violation, then the process will end unless
the complainant requests that the Title IX Coordinator make a determination to re-open the
investigation or to forward the matter for a hearing This decision lies in the sole discretion
of the Title IX Coordinator. If there is reasonable cause, the Title IX Coordinator will direct
the investigation to continue, or if there is a preponderance of evidence of a violation, then
the Title IX Coordinator may recommend conflict resolution, a resolution without a hearing
or a formal hearing, based on the below criteria.

a. Conflict Resolution

Conflict resolution is often used for less serious yet inappropriate, behaviors and is
encouraged as an alternative to the formal hearing process to resolve conflicts The
Title IX Coordinator will determine if conflict resolution is appropriate, based on the

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willingness of the parties the nature of the conduct at issue and the susceptibility of
the conduct to conflict resolution. In a conflict resolution meeting, an ERP member
will facilitate a dialogue with the parties to an effective resolution, if possible.
Sanctions may not be imposed through a conflict resolution process although the
parties may agree to appropriate remedies The Title IX Coordinator will keep
records of any resolution that is reached, and failure to abide by the accord may
result in further appropriate responsive actions

Conflict resolution will not be the primary resolution mechanism used to address
complaints of sexual misconduct or violent behavior of any kind or in other cases of
serious violations of policy, though it may be made available after the formal process
is completed should the parties and the Title IX Coordinator believe that it could be
beneficial It is not necessary to pursue conflict resolution first in order to make a
formal ERP complaint, and anyone participating in conflict resolution can stop that
process at any time and request a formal hearing

b. Resolution Without a Hearing

Resolution without a hearing can be pursued for any behavior that falls within the
policy on Equal Opportunity, Harassment and Nondiscrimination, at any time during
the process The Title IX Coordinator will provide written notification of a
complaint to any member of the Delaware State University community who is
accused of an offense of harassment, discrimination or retaliation The Title IX
Coordinator will meet with the responding individual to explain the finding(s) of the
investigation Once informed, if the respondent admits responsibility for all or part
of the alleged policy violations at any point in the process the Title IX Coordinator
will render a finding that the individual is in violation of Delaware State University
policy for the admitted conduct, and will normally proceed to convene a formal
hearing on any remaining disputed violations For admitted violations the Chair of
the ERP will recommend an appropriate sanction or responsive action If the
sanction/responsive action is accepted by both the complainant and respondent, the
Title IX Coordinator will implement it, and act promptly and effectively to remedy
the effects of the admitted conduct upon the victim and the community If either
party rejects the sanction/responsive action, an ERP hearing will be held on the
sanction/responsive action only, according to the ERP procedures below, except in
the case of at-will employees for whom findings and responsive actions will be
determined by the Title IX Coordinator, based on the results of the investigation
Likewise, if the respondent refuses to admit responsibility for the policy violations
the matter will be referred to a formal ERP hearing

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needed, to meet the resolution timeline followed by the University and remain
within the 60-day goal for resolution

c. Hearing Procedures

ERP Hearings will be convened, usually within one to two weeks of the
completion of the investigation, and will be conducted in private. The ERP has
the authority to hear all collateral misconduct, meaning that it hears all
allegations of discrimination, harassment and retaliation, but also may hear any
additional alleged policy violations that have occurred in concert with the
discrimination, harassment or retaliation, even though those collateral allegations
may not specifically fall within ERP jurisdiction Accordingly, investigations
should be conducted with as wide a scope as necessary

Participants will include the non-voting Chair, the three members of the panel,
the investigator(s) who conducted the investigation on the complaint, the
complainant and respondent(s) (or up to three organizational representatives in a
case where an organization is charged), advisors to the parties and any called
witnesses The Chair will provide the names of witnesses Delaware State
University intends to call, all pertinent documentary evidence and any written
findings from the investigators to the parties at least two business days prior to
the hearing. In addition, the parties will be given a list of the names of each of
the ERP panel members at least two business days in advance of the hearing.
Should any party object to any panelist, he/ she must raise all objections in
writing, to the Chair immediately Panel members will only be unseated if the
Chair, in consultation with the Title IX Coordinator or designee, concludes that
their bias precludes an impartial hearing of the complaint. Additionally, any
panelist or Chair who feels he/she cannot make an objective determination must
recuse himself or herself from the proceedings when notified of the identity of
the parties and witnesses in advance of the hearing

The Chair, in consultation and agreement with the parties and investigators may
decide in advance of the hearing that certain witnesses do not need to be
physically present if their testimony can be adequately summarized by the
investigator(s) during the hearing All parties will have ample opportunity to
present facts and arguments in full and question all present witnesses during the
hearing7 though formal cross-examination is not used between the parties If
alternative questioning mechanisms are desired (screens, Skype, questions
directed through the Chair, etc.), the parties should request them from the Chair
at least two business days prior to the hearing

Once the procedures are explained and the participants are introduced, the
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investigator(s) will present the report of the investigation first, and be subject to
questioning by the parties and the ERP. The investigator(s) will be present during the
entire hearing process but not during deliberations of the Panel. The findings of the
investigation are not binding on the panel, though any undisputed conclusions of the
investigation report will not be revisited and will be accepted as binding on the panel,
except as necessary to determine sanctions/responsive actions Once the report of the
investigation has been presented, the ERP will permit questioning of and by the
parties and of any present witness Questions may be directed solely to and through
the panel at the discretion of the Chair.

Forrnal rules of evidence will not apply Any evidence that the panel believes is
relevant and credible may be considered, including history and pattern evidence. The
Chair will address any evidentiary concerns prior to and/or during the hearing, may
exclude irrelevant or immaterial evidence and may ask the panel to disregard
evidence lacking in credibility The Chair will determine all questions of procedure
and evidence. Anyone appearing at the hearing to provide information will respond
to questions on his/her own behalf.

Unless the Chair determines it is appropriate, no one will present information or raise
questions conceming; (l) incidents not directly related to the possible violation,
unless allegations of a pattern have been made7 or (2) the sexual history of or the
character of the victim/complainant

Where issues of competency or job performance are concemed, the panel will not
substitute its judgment of competency or performance for the judgment of other
appropriate campus officials the function of the hearing panel is to determine
whether violations of the Delaware State University’s policies regarding harassment
and nondiscrimination have been committed, and issues of competency or
performance may only be considered in that context.

There Will be no observers in the hearing. The Chair may allow witnesses who have
relevant information to appear at a portion of the hearing in order to respond to
specific questions from the panel or the parties involved. The panel does not hear
from character witnesses but will accept up to two letters supporting the character of
the individuals involved.

In hearings involving more than one accused individual or in which two
complainants have accused the same individual of substantially similar conduct, the
standard procedure will be to hear the complaints jointly; however, the Title IX
Coordinator may permit the hearing pertinent to each respondent to be conducted
separately In joint hearings separate determinations of responsibility will be made
for each respondent

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Proceedings are private. All persons present at any time during the hearing are
expected to maintain the privacy of the proceedings subject to Delaware State
University disciplinary consequences for failure to do so. While the contents of the
hearing are private, the parties have discretion to share their own experiences if they
so choose, and should discuss doing so with their advisors

Hearings are recorded, by the Panel only, for purposes of review in the event of an
appeal. ERP members the parties and/or the persons who initiated the action, and
appropriate administrative officers of Delaware State University will be allowed to
listen to the recording in a location determined by the Title IX Coordinator or
designee_ No person Will be given or be allowed to make a copy of the recording
without permission of the Title IX Coordinator. Persons given access to the
recording will be required to sign an agreement confirming that they will protect the
privacy of the information contained in the recording

d. Decisions

The ERP will deliberate in closed session to determine whether the respondent is
responsible or not responsible for the violation(S) in question The panel Will base its
determination on a preponderance of the evidence (i.e., whether it is more likely than
not that the accused individual committed each alleged violation). lf an individual
respondent or organization is found responsible by a majority of the panel, the panel
Will recommend appropriate sanctions to the Title IX Coordinator.

The Chair will prepare a written deliberation report and deliver it to the Title IX
Coordinator, detailing the finding, how each member voted, the information cited by
the panel in support of its recommendation and any information the hearing panel
excluded from its consideration and why The report should conclude with any
recommended sanctions This report should normally not exceed two pages in length
and must be submitted to the Title IX Coordinator within two (2) days of the end of
panel deliberations

The Title IX Coordinator will inform the accused individual and the complainant of
the final determination within 2 business days of completion of the hearing or receipt
of the Chair’s report, Whichever is later. There will be no substantial delay between
notice to each of the parties Notification will be made in writing and may be
delivered by any reasonable means Once sent by the chosen means notice will be
presumptively delivered

e. Sanctions

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Sanctions or responsive actions will be determined by the ERP panel hearing the
case. F actors considered when determining a sanction/responsive action may include:

The nature, severity of, and circumstances surrounding the violation

An individual`s disciplinary history

Previous complaints or allegations involving similar conduct

Any other information deemed relevant by the ERP panel

The need for sanctions/responsive actions to bring an end to the discrimination
harassment and/or retaliation

The need for sanctions/responsive actions to prevent the future recurrence of
discrimination harassment and/or retaliation

The need to remedy the effects of the discrimination harassment and/or
retaliation on the victim and the community

i. Student Sanctions

The following are the usual, but not the exclusive, sanctions that may be
imposed upon students or student organizations singly or in combination

o Warning: A formal statement that the behavior was unacceptable and
a warning that further infractions of any Delaware State University
policy, procedure or directive will result in more severe
sanctions/responsive actions

o Probation.' A written reprimand for violation of the Code of Student
Conduct, providing for more severe disciplinary sanctions in the event
that the student or organization is found in violation of any Delaware
State University policy, procedure or directive within a specified
period of time. Terms of the probation will be specified and may
include denial of specified social privileges exclusion from co--
cunicular activities non-contact orders and/or other measures deemed
appropriate

o Suspension: Termination of student status for a definite period of time
not to exceed three years and/or until specific criteria are met.
Students who return from suspension are automatically placed on
probation through the remainder of their tenure at Delaware State
University. This sanction may be noted as a Conduct Suspension on
the student’s official transcript.

o Expulsion: Perrnanent termination of student status revocation of
rights to be on campus for any reason or attend Delaware State
University-sponsored events This sanction will be noted as a
Conduct Expulsion on the student’s official transcript

o Withholding Diploma. Delaware State University may withhold a

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student's diploma for a specified period of time and/or deny a student
participation in commencement activities if the student has a
complaint pending, or as a sanction if the student is found responsible
for an alleged violation

o Revocation of Degree. Delaware State University reserves the right to
revoke a degree awarded from Delaware State University for fraud,
misrepresentation or other violation of Delaware State University
policies procedures or directives in obtaining the degree, or for other
serious violations committed by a student prior to graduation

o Organizational Sanctions. Deactivation, de-recognition, loss of all
privileges (including University registration), for a specified period of
time.

o Other Actions: In addition to or in place of the above sanctions
Delaware State University may assign any other sanctions as deemed
appropriate

ii. Employee Sanctions

Sanctions for an employee who has engaged in harassment, discrimination
and/or retaliation include waming, required counseling, demotion suspension
with pay, suspension without pay and termination or any other sanctions as
deemed appropriate

f. Withdrawal or Resignation While Charges Pending

Students: Delaware State University does not permit a student to withdraw if that
student has a complaint pending for violation of the policy on Equal Opportunity,
Harassment and Nondiscrimination or for charges under the Code of Student
Conduct. Should a student decide to leave and not participate in the investigation
and/or hearing, the process will nonetheless proceed in the student’s absence to a
reasonable resolution and that student will not be permitted to return to Delaware
State University unless all sanctions have been satisfied

Employees Should an employee resign while charges are pending the records of the
Title IX Coordinator will reflect that status as will Delaware State University
responses (which will always be in writing) to any future inquiries regarding
employment references for that individual The Title IX Coordinator will act to
promptly and effectively remedy the effects of the conduct upon the victim and the
community

g. Appeals

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All requests for appeal must be submitted in writing to the Title IX Coordinator
within three (3) business days of the delivery of the written finding of the ERP.
Requests must state the explicit grounds for the appeal.

A three-member panel of the ERP designated by the Title IX Coordinator, none
of whom were involved in the complaint previously, will consider all appeal
requests Any party may request an appeal, but appeals are limited to the
following:

o A procedural error or omission occurred that significantly impacted the
outcome of the hearing (e. g substantiated bias material deviation from
established procedures etc.).

o To consider new evidence, unknown or unavailable during the original hearing or
investigation that could substantially impact the original finding or sanction A
summary of this new evidence and its potential impact must be included

o The sanctions imposed are substantially disproportionate to the severity of the
violation or fall outside the range of sanctions the Delaware State University has
designated for this offense

The appeals panel of the ERP will review the appeal request(s). The original finding and
sanction/responsive actions will stand if the appeal is not timely or is not based on at
least one of the grounds listed above, and such a decision is final. When any party
requests an appeal, the other party (parties) will be notified and joined in the appeal. The
party requesting appeal must show that the grounds for an appeal request have been met,
and the other party or parties may show the grounds have not been met, or that additional
grounds are met, The original finding and sanction are presumed to have been decided
reasonably and appropriately

Where the ERP appeals panel finds that at least one of the appellate grounds is satisfied,
additional principles governing the hearing of appeals include the following

o Appeals decisions by the ERP appeals panel are to be deferential to the original
decision making changes to the finding only where there is clear error and to the
sanction/responsive action only if there is a compelling justification to do so.

0 Appeals are not intended to be full rehearings of the complaint. In most cases
appeals are confined to a review of the written documentation or record of the
original hearing, and pertinent documentation regarding the grounds for appeal.
The appeals panel may elect to listen to the recording of the original hearing, in
its sole discretion Appeals granted based on new evidence should normally be
remanded to the original hearing panel for reconsideration Other appeals may be
remanded at the discretion of the Title IX Coordinator or heard by the ERP
appeals panel.

0 Sanctions imposed are implemented immediately unless the Title D( Coordinator or

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designee stays their implementation in extraordinary circumstances pending the
outcome of the appeal

0 The Title lX Coordinator will normally, after conferring with the ERP appeals
panel, render a written decision on the appeal to all parties within 2-3 business
days from hearing of the appeal.

o All parties must be informed of whether the grounds for an appeal are accepted
and the results of the appeal decision

0 Once an appeal is decided, the outcome is final: further appeals are not permitted

h. F ailure to Complete Sanctions/Comply with Responsive Actions

All respondents are expected to comply with conduct sanctions/responsive/corrective
actions within the time frame specified by the Title IX Coordinator. F ailure to follow
through on conduct sanctions/responsive/corrective actions by the date specified, whether
by refusal, neglect or any other reason may result in corrective actions which may include
suspension expulsion and/or termination from Delaware State University. A suspension
will only be lifted when compliance is achieved to the satisfaction of the Title IX
Coordinator.

i. Records and Continued Privacy

ln implementing this policy, records of all complaints resolutions and hearings will be
kept by the Title IX Coordinator indefinitely in the Title IX Coordinator database Those
records will be kept private and confidential, and the information contained therein
revealed only in response to a valid governmental request, a court-ordered subpoena, or
pursuant to a release signed by the individual requesting the information and seeking
information solely about his/her personal conduct.

j. Statement of Complainant’s Rights

o To be treated with respect by Delaware State University officials

o To take advantage of campus support resources (such as Counseling & Psychological
Services the Office of the Chaplains and Delaware State University Student Health
Services or EAP services for employees).

0 To experience a safe living, educational and work environment

o To have an advisor during this process

0 To refuse to have an allegation resolved through conflict resolution procedures

0 To receive amnesty for minor student misconduct (such as alcohol or drug
violations) that is ancillary to the incident

0 To be free from retaliation

v To have complaints heard in substantial accordance with these procedures
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0 To full participation of the injured party in any ERP process whether the injured
party is serving as the complainant or Delaware State University is serving as
complainant

0 To be informed in writing of the outcome/resolution of the complaint, sanctions
where permissible and the rationale for the outcome where permissible

0 Refer to law enforcement and have assistance

0 Housing and living accommodations if required as interim measures

0 No contacts between the parties if required
k. Statement of Respondent’s Rights

0 To be treated with respect by Delaware State University officials

0 To take advantage of campus support resources ( such as Counseling & Psychological
Services the Office of the Chaplains and Delaware State University Student Health
Services or EAP services for employees).

o To have an advisor during this process

0 To refuse to have an allegation resolved through conflict resolution procedures

0 To have complaints heard in substantial accordance with these procedures

0 To full participation of the injured party in any ERP process whether the injured
party is serving as the complainant or Delaware State University is serving as
complainant

0 To be informed of the outcome/resolution of the complaint and the rationale for the
outcome, in writing

8. Revision

These policies and procedures will be reviewed and updated annually or more frequently, if
required, by the Title IX Coordinator in consultation with the University General Counsel.
Suggested improvements or changes from any member of the University community will
always be considered The Title IX Coordinator may make minor modifications to
procedures that do not materially jeopardize the fairness owed to any party However, the
Title IX Coordinator may also vary procedures materially with notice (on the institutional
website, with appropriate date of effect identified) upon determining that changes to law or
regulation require policy or procedural alterations not reflected in this policy and procedure
Policy and procedures in effect at the time of an offense will apply even if they are changed
subsequently, unless the parties consent to be bound by the revised policy or procedures

This policy and procedure was implemented on June l, 2014.

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